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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                       NORTHEASTERN DIVISION

OAKWOOD UNIVERSITY, INC.,                 )

                                          )

               Plaintiff,                 )

                                          )

                   v.                     )       Case No. 5:18-cv-870-MHH

                                          )

OAKWOOD UNIVERSITY                        )
ALUMNI ASSOCIATION,
                                          )

                                          )
              Defendant.
                                          )


                            MEMORANDUM OPINION

      Family disagreements are painful for everyone involved. This case concerns

a disagreement between Oakwood University and its offshoot and former ally, the

Oakwood University Alumni Association.          Recently, the relationship between

Oakwood University and the Oakwood University Alumni Association has become

strained -- so strained, in fact, that Oakwood University has broken its ties with the

Oakwood University Alumni Association. The Court’s efforts to help the parties

mend their relationship have been unsuccessful, so the time has come for the Court

to resolve some of the pending motions in this case. This opinion addresses the
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University’s request for a preliminary order prohibiting the Alumni Association

from using the trademark “Oakwood University” in the Association’s name and

from using other marks that may cause alumni and others to confuse the University

and the Alumni Association, especially with respect to alumni giving.

      Oakwood alumni always have had good reason to support Oakwood

University.   Oakwood University is one of Alabama’s storied educational

institutions. As the University explains on its website:


      Oakwood University, in Huntsville, Ala., was founded by the Seventh-
      day Adventist Church (SDA) in 1896 to educate the recently-freed
      African-Americans of the South. Drawing upon its Christian faith and
      the emancipation of slaves by President Abraham Lincoln in 1863, it
      believed that “all people are created equal” and deserved the
      opportunity to learn a trade.

      Originally, the school was called “Oakwood Industrial School,”
      opening its doors November 16, with 16 students. A year earlier, the
      380-acre former slave plantation was purchased for $6,700. Its
      towering oak trees – which gave way to the name “Oakwood” – dotted
      the early residence of America’s most famous slave, Dred Scott.
      Additional land was acquired in 1918, nearly tripling the campus size
      to its current 1,186 acres.1

Since its founding, the University has expanded not only its campus but also its

student body and curriculum, evolving from an industrial school to a university

offering more than 58 majors and accredited “to award associate, baccalaureate, and



1
 OAKWOOD UNIVERSITY: MISSION & HISTORY, https://www2.oakwood.edu/our-story/mission-
history/ (last visited July 30, 2020); see also Doc. 1, p. 5.

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master’s degrees.”2 Oakwood University “offers quality Christian Education that

emphasizes academic excellence, promotes harmonious development of mind, body,

and spirit, and prepares leaders in service for God and humanity.” 3

      Alumni of the University have much to celebrate:

      Oakwood is consistently recognized by national media, business and
      educational associations. US News and World Report ranks it
      perennially among the nation’s “Best Colleges,” both in terms of the
      “Historically Black Colleges and Universities” (HBCUs) and
      “Regional Colleges/South” categories; the magazine also ranks
      Oakwood among the top ten HBCUs with highest graduation rates. In
      its first-ever HBCU ranking, the September 2012 EBONY Magazine
      top-ranked Oakwood’s science program. Additionally, Oakwood is the
      nation’s fifth-ranked producer of undergraduate black applicants to
      medical schools, according to the Association for American Medical
      Colleges. Oakwood’s ISO 9001: 2008 designation distinguishes it as
      the first and only HBCU, as well as the first and only Alabama and/or
      SDA higher education institution, so qualified. 4

Oakwood University embraces its alumni:

      Enter to Learn. Depart to Serve.

      Every Oakwoodite knows this motto and lives it every day! We are
      proud of you and it is our pleasure to serve YOU.




2
 OAKWOOD UNIVERSITY: OUR STORY, https://www2.oakwood.edu/our-story/ (last visited July 30,
2020).
3
  OAKWOOD UNIVERSITY: MISSION & HISTORY, https://www2.oakwood.edu/our-story/mission-
history/ (last visited July 30, 2020);
4
  OAKWOOD UNIVERSITY: MISSION & HISTORY, https://www2.oakwood.edu/our-story/mission-
history/ (last visited July 30, 2020); see also Doc. 1, p. 5.

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         Alumni Relations is here to keep you connected to the school you love
         and to the people you cherish. We know the connections made here are
         for a lifetime. 5

         Given Oakwood University’s history, mission, and rich tradition of

accomplishment, it comes as no surprise that Oakwood alumni are deeply invested

in their school and are proud of the bonds they share as alumni. And it comes as no

surprise that both the University and the Alumni Association wish to foster those

bonds and cement their relationships with alumni. “What’s in a name?” 6 A lot,

when it comes to alumni relations. To resolve the pending motions concerning

Oakwood University’s effort to prevent the Alumni Association from using

“Oakwood University” in its name, the Court first will make factual findings

concerning the evidence presented by the parties. Then the Court will examine

whether the University has demonstrated, among other things, a substantial

likelihood of ultimate success on the merits of its trademark infringement claim and

a substantial threat of irreparable injury if the Alumni Association continues to use

the name “Oakwood University.”




5
  OAKWOOD UNIVERSITY: ALUMNI, https://www2.oakwood.edu/alumni/ (last visited July 30,
2020) (emphasis is from the University’s website).
6
    William Shakespeare, Romeo and Juliet (Act II, Scene ii).

                                                 4
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    I.       FINDINGS OF FACT

         In accordance with Rule 52(a)(2) of the Federal Rules of Civil Procedure, the

Court makes the following findings of fact: 7

         A. The Creation and Evolution of the University and the Association

         Oakwood University, Inc. is an Alabama non-profit corporation with its

principal place of business in Madison County, Alabama. The University is a

tax-exempt institution and accepts contributions from donors. (Doc. 1, pp. 2, 8, ¶¶1,

17; Doc. 15, pp. 1, 4, ¶¶1, 17).8 Alumni represent a significant segment of the

University’s donor base. (Doc. 1, p. 8, ¶17).

         The University launched operations in 1896 as “Oakwood Industrial School.”

(Doc. 15, p. 20, ¶7; Doc. 20, p. 3, ¶7).9 In 1904, “Oakwood Industrial School”


7
    Rules 52(a)(1) and (2) provide:

         (1) In General. In an action tried on the facts without a jury or with an advisory
             jury, the court must find the facts specially and state its conclusions of law
             separately. The findings and conclusions may be stated on the record after the
             close of the evidence or may appear in an opinion or a memorandum of decision
             filed by the court. Judgment must be entered under Rule 58.

         (2) For an Interlocutory Injunction. In granting or refusing an interlocutory
             injunction, the court must similarly state the findings and conclusions that
             support its action.

Fed. R. Civ. P. 52 (a)(1)-(2).
8
  Doc. 1 is the University’s verified complaint. The Alumni Association admitted these factual
allegations in its Answer and Counterclaim, Doc. 15.
9
  The citation references the Alumni Association’s factual allegation in the Answer and
Counterclaim (Doc. 15) which the University admitted in its Answer to the Counterclaim (Doc.
20).
                                                 5
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changed its name to “Oakwood Manual Training School,” and then, in 1917,

changed its name again to “Oakwood Junior College.” (Doc. 15, p. 20, ¶7; Doc. 20,

p. 3, ¶7; Doc. 40-1, p. 1, ¶4).

       In 1926, the graduating class of Oakwood Junior College formed an alumni

association called the Oakwood Junior College National Alumni Association. (Doc.

15, p. 20, ¶8; Doc. 40-1, p. 1, ¶4). The alumni association’s mission was to serve

and support the college with fundraising, student recruitment, and other activities.

(Doc. 40-1, p. 1, ¶8). Before the early 1960s, the college housed, sponsored, and

subsidized the alumni association’s operations. (Doc. 40-1, p. 1, ¶5). The new

alumni association conducted its business on campus through employees and staff

of the college. (Doc. 40-1, p. 1, ¶4). Until 1964, the president of the alumni

association was a faculty or staff member of the school. (Doc. 40-1, p. 1, ¶5).10

Since 1964, all but one of the twelve alumni association presidents have served from

off campus. (Doc. 40-1, p. 1, ¶5). The trend of off-campus leadership began by

agreement between the college and the alumni association. (Doc. 40-1, p. 1, ¶5).

       In 1943, Oakwood Junior College changed its name to “Oakwood College.”

(Doc. 15, p. 20, ¶10; Doc. 20, p. 3, ¶10). That year, the alumni association also




10
  The first president of the alumni association was O.B. Edwards. President Edwards served in
that role from 1926 through 1939. (Doc. 40-1, p. 1, ¶4). Over his career at the college, Mr.
Edwards served as a professor and as vice president for academic affairs. (Doc. 40-1, p. 1, ¶4).

                                               6
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changed its name to the Oakwood College Alumni Association. (Doc. 15, p. 20,

¶11). 11 Like Oakwood Junior College, Oakwood College assisted in the formation

and operation of the alumni association. (Doc. 40-1, p. 1, ¶5). Oakwood College

recognized the alumni association would use the school’s name, logos, symbols, and

color schemes in connection with fundraising for the college. (Doc. 40-1, p. 2, ¶11).

For instance, the alumni association used Oakwood College’s seal on its stationary.

(Doc. 40-1, p. 2, ¶11). The college gave the alumni association permission to use

the school’s name, logos, symbols, color schemes, and good-will in connection with

an “unwritten understanding” the alumni association would raise funds for the

college. (Doc. 40-2, p. 2, ¶8). 12


11
  Doc. 15 is the Alumni Association’s unsworn Answer and Counterclaim. The University lacked
sufficient information to admit or deny the fact stated. (Doc. 20, p. 3, ¶11).
12
   This fact comes from the declaration of Jennifer Mosley Stone which Oakwood University has
offered in support of its request for a preliminary injunction. (Doc. 40-2). The record also contains
the declaration of Eardell J. Rashford, which the Alumni Association has offered in opposition to
the University’s motions. (Doc. 41-2). In his declaration, Mr. Rashford states that, “[t]o [his]
knowledge,” neither Oakwood College nor the University restricted or controlled the alumni
association’s use of the University’s trademarked symbols or entered into an agreement with the
alumni association for their use, and to his knowledge, “there has never been a formal written or
unwritten agreement between the University and OUAA regarding the use by OUAA of “Oakwood
College” or “OCAA.” (Doc. 41-2, p. 3, ¶¶6–7). The Court credits Dr. Stone’s description of the
relationship between the college and the alumni association because her assertions are rooted in
her personal knowledge and experience in 20 years of service to the Alumni Association in various
leadership roles including President and Vice-President of the Alumni Association. (Doc. 40-2,
p. 1, ¶¶2–3). Mr. Rashford seems to have played a more limited role, serving as the parliamentarian
to the Oakwood College Alumni Association Board of Directors before the college developed into
the university, and the OCAA became the OUAA. (Doc. 41-2, p. 1, ¶2). Mr. Rashford does not
state directly that there was no agreement between the parties or that the college did not give the
association permission to use the college’s marks. He simply states that he does not have personal
knowledge of that permission.

                                                 7
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       In 2007, the University changed its name from “Oakwood College” to

“Oakwood University.” (Doc. 1, p. 5, ¶9; Doc. 15, p. 2, ¶9).13 In 2010, the alumni

association became known by its present name, the Oakwood University Alumni

Association. (Doc. 15, p. 21, ¶13; Doc. 40-2, p. 1, ¶2). 14 Oakwood University

continued to give the alumni association permission to use the school’s name, logos,

symbols, color schemes, and good-will in connection with the “unwritten

understanding” the alumni association would raise funds for the university, and the

university would coordinate fundraising efforts. (Doc. 40-2, p. 2, ¶8, 12).15

       The University’s accreditation is contingent on its oversight of fundraising

benefitting the University. The University is accredited by the Southern Association

of Colleges and Schools Commission on Colleges (SACSCOC) and must comply

with the core requirements and standards of SACSCOC. (Doc. 40-3, p. 1, ¶3). Dr.

Belle S. Wheelan, the current president of the SACSCOC, has explained:

       5. All SACSCOC accredited institutions must maintain compliance
       with the current edition of the Core Requirements and Standards
13
  Doc. 15 is the Alumni Association’s unsworn Answer and Counterclaim. The University lacked
sufficient information to admit or deny the fact stated. (Doc. 20, p. 4, ¶13).
14
   The Oakwood University Alumni Association is a separate legal entity from the University.
(Doc. 41-1, p. 2, ¶5; Doc. 41-3, p. 2, ¶3; Doc. 41-4, p. 3, ¶7). Since at least March 1991, the IRS
has recognized the Alumni Association as a tax-exempt entity pursuant to section 501(c)(3) of the
Internal Revenue Code, distinct from the University. (Doc. 41-1, p. 2, ¶¶3, 4; Doc. 41-1, p. 9).
15
   In her declaration, Dr. Stone stated: “At all times (including when I was Vice President and
President of OUAA), the OUAA had an unwritten understanding with the University. As part of
this understanding, OUAA had the University’s permission to use its name, logos, symbols, color
schemes, and good will in connection with OUAA’s fund-raising efforts for the University.” (Doc.
40-2, p. 2, ¶12).
                                                8
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contained in the Principles of Accreditation: Foundations/or Quality
Enhancement (“Principles”). Noncompliance with Core Requirements
and Standards could jeopardize the institution’s accreditation status.

6. The Principles Section 5: Administration and Organization (Section
5), addresses the role and responsibilities of institutional administrative
officers. Specifically, Section 5.2.c governs the role of the chief
executive officer regarding fundraising (Principles, Section 5.2. c) and
Section 5.3.c, governs the exercise of control of ‘institution-related
entities’ engaged in fundraising activities. Principles, Section 5.3.c.

7. Section 5.3.c of the Principles (“Section 5.3.c”) requires a member
institution to exercise sufficient control over the fundraising activities
of “institution-related entities.”       Principles, Section 5.3.c. An
institution-related entity is one organized separate from the SACSCOC
member institution; but, whose purpose is to raise funds to support that
institution and its programs. The Standard requires that any such entity
must be subject to the control of the institution when engaging in fund-
raising activities to support the institution or its programs. An alumni
association organized separately from a member institution is a
common example of an institution-related entity.

8. A member institution can exercise the required level of control over
institution-related entities in one of two ways. First, the institution
demonstrates, through the CEO or his/her designee, control of any
fund-raising activities of the institution-related entity. Second, the
institution may enter into a formal, written agreement that governs the
fund-raising activities on behalf of the institution, assuring that the
fund-raising activities further the mission of the institution.

9. Even if an institution and institution-related entity have entered into
a formal, written agreement as evidence of compliance with Standard
5.3.c, compliance requires that the institution demonstrates control of
the institution-related entity’s fund-raising activities undertaken to
support the institution or its programs.

10. If an institution-related entity raises funds for the institution
without operating under that institution’s control, as set out in
Section 5.3, it would appear noncompliant with the Principles of
Accreditation and jeopardize the institution’s accreditation status.
                                    9
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      11. Section 1 of the Principles (“Section 1”) mandates that integrity,
      openness and candidness permeate all the institutions’ obligations
      under SACSCOC accreditation standards. Principles of Accreditation:
      Foundation for Quality Enhancement, Section 1: The Principle of
      Integrity. The standard is operationalized in a policy statement. A true
      and correct copy of SACSCOC’s Policy Statement entitled “Integrity
      and Institutional Obligations to SACSCOC” is attached hereto as
      Exhibit “A”.

      12. As part of the policy of integrity, a member institution must disclose
      possible accreditation violations as part of its candidacy or membership
      with SACSCOC. When a member institution becomes aware of
      anything that potentially impacts its compliance with the Principles, the
      member institution must notify SACSCOC (sometimes referred to as
      “self-reporting”). Failure to comply with the SACSCOC’s integrity
      principle may result in a loss of accreditation for a member institution.

(Doc. 40-3, pp. 1–2, ¶¶5–12; see also, Doc. 41-1, pp. 4, 5, ¶¶10, 11) (emphasis

added).

      A memorandum of understanding, or “MOU”, is an example of the type of

formal, written agreement that could define the fundraising activities of an external

entity like the Alumni Association. (Doc. 41-1, p. 4, ¶10; Doc. 41-1, pp. 85, 87).

The University and the Alumni Association have not had an MOU or any other

formal, written agreement concerning the Alumni Association’s fundraising for the

University. (Doc. 41-1, pp. 3, 5, ¶¶7, 12). Therefore, under SACSCOC standards,

the University’s CEO or her designee must control of fundraising activities of the

Alumni Association.




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      According to its bylaws, the Alumni Association has one purpose: “to support

the education institution, Oakwood University, located in Huntsville, Alabama.”

(Doc. 1-3, p. 2). The bylaws state “[t]he membership will support the University

through benevolent giving, scholarships, and recruitment providing financial

support to students and the University through the campaigns of the Association.”

(Doc. 1-3, p. 3). The bylaws also provide that the Alumni Association’s president

“shall communicate continuously with the University officials and the Association

Officers and Elected Officials in order to achieve maximum planning and

coordination between the Association and the University.” (Doc. 1-3, p. 7). From

its inception, for many years, the Alumni Association cooperated with and

coordinated fundraising efforts with the University. (Doc. 1, p. 9, ¶19; Doc. 15, p.

4, ¶19). The Alumni Association collected funds and then, as an organizational

donor, contributed those funds to the University. (Doc. 41-4, p. 3, ¶7). The

University’s president has ex-officio membership on the Alumni Association’s

board of directors. (Doc. 1-3, p. 6).

      Dr. Mervin Warren, who served as the president of the Oakwood College

Alumni Association from 1962 to 1963 and has written books about the history of

Oakwood University, recalls conducting the alumni association’s business from the

college’s campus using the college’s resources. (Doc. 40-1, p. 1, ¶¶ 3, 6 & p. 2, ¶9).

Dr. Warren understood “that the association’s fund-raising [sic] was answerable to


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the College.” (Doc. 40-1, p. 2, ¶10; see also Doc. 40-1, p. 2, ¶12 (“[T]here have

always been discussions between Oakwood University and its alumni association

regarding the purposes and targets of alumni fund-raising [sic].”)). Dr. Warren notes

“the [A]ssociation’s use of the school’s name was indicative of both the Oakwood

University and the . . . Association were operating for the common good.” (Doc.

40-1, p. 2, ¶13).

      Dr. Jennifer Moseley Stone, who served as the Alumni Association’s

president from 2012 through 2015, confirms that the Association’s mission “was to

support and raise funds for the University.” (Doc. 40-2, p. 1, ¶¶ 2, 4). While Dr.

Stone was the Association’s president, she understood the University had to be

involved in the Association’s fundraising per SACSCOC accreditation. (Doc. 40-2,

p. 2, ¶9). If there was a difference of opinion between the two organizations, they

would work together to “find common ground or otherwise resolve the difference.”

(Doc. 40-2, p. 2, ¶11). There never was a time during her tenure that the Alumni

Association ignored or defied the University’s directives regarding fundraising.

(Doc. 40-2, p. 2, ¶11).

      Dr. Leslie Pollard, the current President and CEO of the University, has

explained that “between 2011 and early 2018, whenever I objected to OUAA

fundraising or materials as conflicting with University standards, OUAA would

comply.” (Doc. 44-1, p. 2, ¶1 & p. 3, ¶9). In her declaration, she states:


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      Based on my experiences, the relationship between OUAA (and
      previous associations) and the University (and its predecessors)
      included the practice that OUAA would submit a proposed
      fundraiser/solicitation to the University for approval before proceeding
      with it. This certainly was the case approximately four years into my
      Administration when Dr. Cynthia Powell-Hicks became President of
      OUAA in 2015. However, shortly after she took office, I learned that
      Dr. Powell-Hicks and OUAA had started a new fundraiser effort called
      “President’s Fundraiser”, without seeking permission/approval, and
      were asking that it be advertised on the University’s website and
      newsletter. As soon as I found out about this, I objected to it on various
      grounds, including that donors could mistake who was behind the
      fundraiser and where funds would go.

(Doc. 44-1, pp. 3–4, ¶10). The Alumni Association then cancelled the proposed

fundraiser and subsequently submitted fundraising proposals for pre-approval by the

University. (Doc. 44-1, p. 4, ¶16). Dr. Pollard states:

      When OUAA’s planned fundraising effort/communication met the
      University’s standards and expectations, we would approve them.
      When a fundraising effort or communication did not meet our
      expectations or standards, we would inform OUAA, and it would
      comply. For example, in March 2016, I became aware of a fundraising
      solicitation suggesting that OUAA and the alumni association of
      Oakwood Adventist Academy (a Kindergarten through 12th grade
      school located on Oakwood’s campus) were holding a “joint
      fundraiser” for the Academy. After I learned of this unapproved effort,
      I let Dr. Powell-Hicks know of my objection, and OUAA did not
      proceed with the fundraiser.

      [] Another example of the University rejecting a proposed fundraiser
      and use of the University’s name and good will occurred in 2017. In
      January of that year, OUAA informed the University of an idea called
      “Oakfest”, which it thought would “revamp” Alumni Weekend. It
      wanted to use an outside group called “Superlative Events” as its agent
      to run Oakfest. Ultimately, the University rejected the Oakfest concept
      and any association with Superlative Events, which advertised events
      that appeared to undermine the teachings and message of OU and the
                                         13
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      Seventh-day Adventist Church. OUAA acceded to the University’s
      decision.

(Doc. 44-1, pp. 4-5, ¶¶16-17).

      In making these fund-raising decisions, the University has not singled out the

Alumni Association for special treatment. Because of its obligation to comply with

SACSCOC accreditation standards, the University has intervened in fundraising

efforts by other organizations. In 2012, an on-campus ministry group was using the

University’s name in association with the group’s fundraising. The group did not

give the university an opportunity to review and provide input with respect to

fundraising. (Doc. 44-1, p. 4, ¶13). Ultimately, “the Board voted to remove that

ministry from [] campus because their fundraising did not conform to the

University’s accreditation requirements, and was confusing donors and the public.”

(Doc. 44-1, p. 4, ¶13).

      B. The Registration of the “Oakwood University” Mark

      On August 6, 2008, the University filed U.S. Trademark Application Serial

No. 77/540,675 for the “OAKWOOD UNIVERSITY” mark with the United States

Patent & Trademark Office. (Doc. 1, p. 5, ¶10). Eight months later, the United

States Patent and Trademark Office issued trademark registration number 3,601,698

for “metal key chains; metal novelty license plates” in International Class 6; “desk

blotters, loose leaf binders, notebooks, paper report covers, note paper, pens,

pencils, bookmarks, stickers, decals, postcards, notepad holders, pocket calendars,
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weekly calendars; stationery, namely, writing paper and envelopes, desk and memo

pads; ink pens combined with holders, adhesive tape dispensers and

paperweights; magazines featuring general interest topics pertaining to a

university, its students and the community” in International Class 16; “backpacks,

book bags, sports bags, bum bags, wallets and handbags” in International Class 18;

“Plastic drinking mugs, plastic cups, metal drinking mugs, drinking           glasses,

ceramic mugs, ceramic drinking cups, ceramic vases, ceramic pitchers” in

International Class 21; “Cloth banners and flags” in International Class 24; “T-shirts,

gym shorts, sweatshirts, sweatpants, athletic jackets, wind resistant jackets, golf

shirts, un-collared shirts, infant wear, neckties, athletic uniforms, sweatbands,

baseball caps, bow ties, sleepwear, rain wear” in International Class 25; and

“educational services, namely, providing courses of instruction on the college and

university levels; entertainment services, namely, live music concerts; entertainment

in the nature of presenting live musical groups, plays, and music and poetry recitals,

and art exhibitions” in International Class 41. (Doc. 1, pp. 5–6, ¶10; Doc. 1-1, pp.

2–3; Doc. 15, pp. 2–3, 21–22, ¶¶10, 16; Doc. 20, p. 4, ¶16). In its application, the

University did not claim the exclusive right to use the term “University” other than

as part of the phrase “Oakwood University.” (Doc. 1-1, p. 2). On January 1, 2008,

eight months before filing its trademark application, the University began displaying




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this mark in connection with University goods and services on its campus, through

its website, and in retail stores. (Doc. 1, p. 6, ¶11).

      C. The “Ancillary Marks”

      The University owns the following “Ancillary Marks”: trademark registration

number 3,591,212 for the following stylized mark:




(Doc. 1-2, pp. 2–3); trademark registration number 4,352,439 for the following

stylized mark:




(Doc. 1-2, pp. 4–5); trademark registration number 4,954,242 for the following

stylized mark:
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(Doc. 1-2, pp. 6–7; Doc. 1, p. 7, ¶15); pending trademark application 87/828,018 for

the following stylized mark:




(Doc. 1-2, pp. 8–14); pending trademark application 87/737,208 for the following

stylized design:




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(Doc. 1-2, pp. 15–16); and pending trademark application 87/737,193 for the

following standard charter mark: “THE AEOLIANS.” (Doc. 1-2, pp. 17–18; see

also Doc. 1, pp. 7–8, ¶15).

      Since January 1, 2008, the University has used the “Oakwood University”

mark and the ancillary marks separately and collectively to identify the University’s

services and to distinguish those services from the services of other educational

institutions. (Doc. 1, p. 8, ¶16). The University prominently displays and uses these

marks on school buildings, letterhead, correspondence, bills, direct mailings, and

school and alumni newsletters, among other things. (Doc. 1, p. 8, ¶16). The

University also regularly uses the Oakwood University mark and ancillary marks in

its fundraising efforts. (Doc. 1, p. 8, ¶17). And the University has monitored others’

use of its marks. Dr. Pollard explained:

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       As part of my role as CEO of the University, I have monitored OUAA’s
       fundraising proposals and use of the University’s name, trademarks,
       good will, logos, color schemes, etc. to make sure they did not conflict
       with the University’s mission, standards or programs or in a way that
       could cause confusion.

(Doc. 44-1, p. 3, ¶9).

       D. The University Severs Ties with the Association

       In 2018, donors to the Alumni Association began to express frustration with

the Association to the University. (Doc. 1, p. 13, ¶¶30–31).16 On February 23, 2018,

the Alumni Association lost its tax-exempt status because the Association did not

file IRS Form 990 returns for the preceding three years. (Doc. 1, p. 14, ¶32). 17 The

following, taken from the verified complaint, is not disputed in the record:

       33. Given the gravity of these concerns and the negative public relations
       impact these issues could have on fund-raising efforts and SACS
       compliance, the University’s Board of Directors (the “Board”)
       convened on March 8, 2018. At this meeting, the Board empaneled a
       “taskforce,” led by a former President of the University, to look into the
       issues and make recommendations intended to protect donors, comply
       with SACS 5.3, and to allow the Former Association to navigate
       through the upcoming Alumni Weekend with minimal public confusion
       and embarrassment.18



16
  In its Answer, the Alumni Association stated it lacked knowledge or information sufficient to
form a belief as to the truth of these allegations, and therefore denied them. (Doc. 15, p. 6, ¶¶ 30–
31).
17
  The Alumni Association attributes the loss of its tax-exempt status to a clerical error by the
University. (Doc. 15, p. 6, ¶32).
18
   In its verified complaint, the University refers to the Oakwood University Alumni Association
as “the Former Association.”
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      34. On March 13, 2018, the Board (through the task force’s report)
      requested certain financial information and assurances from the Former
      Association, particularly relating to its intended fundraising and the
      Alumni Weekend scheduled for later that month . . .

      35. The Former Association communicated to the Board that it planned
      to submit a response to the Task Force Report by March 20, 2018. With
      this understanding, the Board scheduled a meeting for March 21, 2018
      during which it intended to review the response. However, the Former
      Association informed the Board that it would not be responding by
      March 20, 2018, but that the Board would be hearing from the Former
      Association’s lawyer.

(Doc. 1, p. 14).

      On March 19, 2018, the Alumni Association, through Dr. Powell-Hicks,

reserved the name “Oakwood University Alumni Association” with the Alabama

Secretary of State’s Office. (Doc. 1, p. 26, ¶64; Doc. 15, p. 12, ¶64).19

      It is not disputed that the following, taken from the verified complaint, then

occurred:

      36. On March 20, 2018, counsel for the University attempted to reach
      an understanding with the Former Association’s lawyer . . ..

      37. The Board held its March 21, 2018 meeting to discuss the issues
      with the Former Association . . . The Board was willing to put off action
      concerning the Former Association until after the approaching Alumni
      Weekend, but it was not comfortable with the association soliciting or
      raising funds from Alumni while its tax-exempt status was revoked.
      The Former Association’s President attended this Board meeting and,
      among other things, stated that she would not communicate with the
19
  See ALABAMA SECRETARY OF STATE BUSINESS ENTITY RECORDS: OAKWOOD UNIVERSITY
ALUMNI ASSOCIATION, (http://arc-
sos.state.al.us/cgi/corpdetail.mbr/detail?corp=791278&page=name&file=Q&type=ALL&status=
ALL&place=ALL&city= (last visited July 30, 2020).

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University, instead instructing the Board to direct all future
communications to the Former Association’s legal counsel. The
University followed this directive and its counsel attempted to address
the issues with Defendant’s counsel.

38. Over the course of the next week, the University, through its
counsel, attempted to communicate multiple times with the Former
Association’s counsel to no avail . . .

39. In the meantime, the Former Association, in coordination with its
Officers, made multiple . . . oral and written statements about the
University and its Administration to Alumni, donors and members of
the public having relationships with the University. For example, the
Former Association published a letter to its website, dated March 21,
2018, addressed to Dr. Daniel R. Jackson, Chair of the Oakwood
University Board of Trustees (the “Website Letter”). In the Website
Letter, the Former Association through its counsel accuses the
University of “unlawful intermeddling and interference with the
activities of [the Former Association]” . . .

40. On March 22, 2018, counsel for the University attempted again to
reach . . . [an] understanding regarding fund-raising during Alumni
Weekend. . . . Through counsel, the Board requested that the Former
Association not accept donations while its exempt status [was] revoked,
but offered to receive and hold any donations in a separate account and
to disburse such funds as requested by OUAA. The Board also offered
to issue a joint statement to Alumni and donors in advance of Alumni
Weekend. . . .

41. . . . On March 27, 2018 at 9:06 AM, counsel for the University
followed up to see if the Former Association intended to respond to the
University’s requests regarding Alumni Weekend . . . Later that day,
counsel for the University informed the Former Association’s counsel
that they needed to come to a written understanding by close of business
March 28, 2017. . . .

42. On March 28, 2018, after . . . having learned of the Former
Association’s plans to have an unidentified, third-party charity accept
donations during Alumni Weekend, the Board, through counsel, gave
the group straightforward directives . . .
                                  21
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       43. In this message, the Board advised the Former Association not to
       use the unknown third-party to accept donations raised through the use
       of the University’s name . . . Rather, the Board asked that donations
       collected be made payable to Oakwood University (whose tax exempt
       [sic] status is not in question), which would be held for use on behalf
       of the Alumni Association . . .

       44. . . . the Former Association insisted on using the unaffiliated third-
       party organization to receive and hold the funds until its status could be
       reinstated. The University could not agree to this arrangement in light
       of its obligations under the SACS accreditation standards.

       45. With thousands of Alumni scheduled to arrive for Alumni
       Weekend the next day, the Board decided to wait until after the
       weekend to determine what to do . . . 20

(Doc. 1, pp. 15-18; see also, Doc. 44-1, p. 2, ¶4).

       On April 16, 2018, the University decided to break ties with the Alumni

Association. (Doc. 1, p. 20, ¶50). The University revoked the Alumni Association’s

permission to use the University’s name and trademarks and to raise funds on the

University’s behalf. (Doc. 1, p. 20, ¶51). The University, through counsel, sent the

Alumni Association a cease and desist letter that, in pertinent part, stated:

       Effective immediately, the University disassociates itself from the
       [Association] and all the [Association]’s fundraising efforts. The
       [Association] no longer has permission to use the University’s name (or
       Oakwood College's name) in any manner associated with the
       [Association] or its fundraising efforts. The University hereby requests
       that the [Association] immediately cease and desist from using the
       University’s name or registered marks in any form or media
       whatsoever, including its website or other communications. The

20
  The University asserts that the Alumni Association made multiple false and defamatory written
and oral statements about the University during this time. (Doc. 1, pp. 18-19, ¶¶46–48).
                                              22
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      University also requests that, effective immediately, the [Association]
      stop representing to the public or the University’s alumni that the
      [Association] raises funds for the University or that the purpose of the
      [Association] is to raise such funds.

(Doc. 1-10, p. 2; Doc. 1, pp. 20–21, ¶52). The Association did not respond.

      On May 14, 2018, the University sent a second letter that, in pertinent part,

stated:

      1) The . . . Association and its representatives must accept the Board’s
      decision that the group has been disassociated from the University and
      all University fundraising efforts (i.e. the Former Association must
      cease and desist from all fundraising and solicitation efforts on behalf
      of the University and make that clear to the public).

      2) The . . . Association and its representatives must cease and desist
      from using the University’s name, Oakwood College’s name, and any
      confusingly similar variants thereof (including the University’s initials)
      for any reason or in any form or media, including in the group’s name
      or on the group’s website and/or letterhead.

      3) Similarly, the . . . Association and its representatives must
      immediately cease and desist from using, in any form or media
      whatsoever, including on its website or other communications any and
      all trade or service marks of the University, whether registered or
      unregistered, including the marks identified in U.S. Trademark
      Registration Nos. 3,601,698, 3,591,212 and 4,352,439, and any
      pending applications, among other trade and service marks.

      4) The . . . Association and its representatives must immediately cease
      all such use, and further must withdraw or cancel the name reservation
      filed March 19, 2018 for “Oakwood University Alumni Association”
      that is currently pending in the office of the Alabama Secretary of State.

      5) The . . . Association and its representatives must immediately cease
      and desist from attempts to plan or organize alumni fundraising events,
      including Oakwood University’s Alumni Weekend and inserting
      representatives into Aeolian activities, or other alumni fundraising
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      events. The University’s Office of Advancement and Development,
      working in harmony with University alumni, is now charged with the
      execution of those duties.

(Doc. 1-12, p. 3; Doc. 1, pp. 22–23, ¶56). In this letter, the University gave the

Alumni Association until May 17, 2018 to comply with these demands. (Doc. 1, pp.

22–23, ¶56; Doc. 1-12, p. 2). The Association refused to respond to, or comply with,

this second letter. (Doc. 1, p. 23, ¶57).

      E. Post-Lawsuit Use of the University’s Marks

      To compel the Association’s compliance with its instructions regarding

fundraising, on June 2, 2018, the University sued and asked the Court to enjoin the

Alumni Association from using the University’s marks. (Doc. 1). Since then, the

Alumni Association has continued to operate the website oakwoodalumni.org.

(Doc. 1, p. 26, ¶63). The following header appears on that site:




(See http://oakwoodalumni.org/). As the image indicates, the Alumni Association

continues to use the “Oakwood University” and “OU” marks, the University’s color


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scheme, and the “flame of knowledge” that appears on the University seal Ancillary

Mark. (See Doc. 1-2, pp. 2-3; Doc. 1, p. 7, ¶15). The website also features displays

of the stylized Ancillary Mark “The Aeolians” as in the following image:




(http://oakwoodalumni.org/aeolians-in-orlando/; Doc. 1, p. 26, ¶63).          Other

University trademarks appear in photos and videos posted on the website. The

Alumni Association still uses the name “Oakwood University Alumni Association”

in correspondence and solicitations. (Doc. 1, p. 26, ¶63).

      At the address http://oakwoodalumni.org/about-us, the following appears:

      The Oakwood University Alumni Association is organized to connect
      and engage Oakwood alumni, students and friends of the University
      and promote the welfare of Oakwood University. We have a desire to
      constantly improve the quality and scope of the work we do. We need
      your help. Oakwood Alumni and friends are talented and proud of our


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      legacy, together we can build upon our past and create new
      opportunities for the future.

Although there is no direct link to this page from the website’s home page, the page

is published and viewable if a person enters the above website address.

      As shown in the following image, in November 2018, the Alumni Association

used Oakwood’s colors, the flame of knowledge, and the Oakwood University and

OU marks for its “Giving Tuesday” campaign:




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(http://oakwoodalumni.org/giving-tuesday/). Again, although there is no direct link

to this page from the website’s home page, the page is published and viewable at the

above website address. As seen in the image, the Alumni Association notes it

contributes money to “University capital campaign projects.” As shown on the

                                        27
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following image, that campaign directly competed with the University’s annual

Giving Tuesday campaign:




(https://twitter.com/OakwoodU/status/1067433010159484930/photo/1).

II.      PROCEDURAL BACKGROUND

      In an early effort to mend the parties’ relationship and find common ground,

the undersigned referred this action to a magistrate judge for mediation. (Doc. 28).

After more than four months in mediation with the magistrate judge (9-5-18 docket

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entry through 1-22-19 docket entry), the parties reached an impasse. (Doc. 38).

After receiving briefing and evidence from the parties concerning the University’s

motion for preliminary injunction, the Court found that the record established the

University no longer would accept donations from Alumni Association. (Doc. 46,

p. 1) (citing Doc. 44, p. 3).          The Court noted it had reviewed the Alumni

Association’s website and other Association publications and found that “some of

the language on the website and in other publications may confuse potential donors”

because donors might infer that the Alumni Association would continue to donate

directly to the University. (Doc. 46, p. 1). 21 The Court instructed the parties to

develop an appropriate disclaimer for the Alumni Association to use in its

publications “to eliminate potential confusion regarding fundraising.” (Doc. 46, p.

2).

       In anticipation of Alumni Weekend in the spring of 2019, on March 28, 2019,

the Court ordered as follows:

       In light of the parties’ upcoming annual alumni events, to eliminate
       potential confusion regarding fundraising, the Court orders the parties
       to comply with the following instructions:

           1.   All written communications published by or on behalf of
       Oakwood University Alumni Association after the date of this Order


21
  In that order, the Court cited the March 19, 2019 version of a page of the Alumni Association’s
website entitled “WHERE DOES THE MONEY GO?” and noted the Alumni Association stated
money the Association raised went to “OUR UNIVERSITY.” (Doc. 46, p. 2). Currently, that
page does not contain that language.
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      that relate to fundraising or other aspects of its operations will
      prominently feature the following notice:

             Notice: This Association is independent from and not
             affiliated with Oakwood University. This Association
             may not and does not raise funds for or on behalf of
             Oakwood University. This Association raises funds for
             alumni activities that the Association sponsors. The
             Association also raises funds to donate directly to students
             who now attend, will attend, or have attended Oakwood
             University to provide assistance with educational
             expenses.

             2.     The Association will not in any communications state,
      suggest, or imply that it provides funds to Oakwood University or that
      the Association represents Oakwood University. The Association may
      communicate that it donates funds directly to students who now attend,
      will attend, or have attended Oakwood University to provide assistance
      with educational expenses.

             3.    As soon as possible but no later than seven days from the
      date of this order, the Association will remove from its website and
      social media accounts (including, but not limited to, Facebook, Twitter,
      YouTube, and Instagram) statements that suggest or imply that it
      provides funds to Oakwood University or that the Association
      represents Oakwood University. This instruction does not affect
      statements concerning donations of funds directly to students who now
      attend, will attend, or have attended Oakwood University to provide
      assistance with educational expenses.

            4.     Until this litigation is resolved, neither party may issue
      public statements (e.g., press releases) regarding this litigation.

(Doc. 47, pp. 1-2, ¶¶1-4).

      During the 2019 Alumni Weekend, Dr. Powell-Hicks and other

representatives of the Alumni Association distributed copies of the following printed

communication:
                                         30
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(Doc. 48, pp. 2-3). The University brought the publication to the Court’s attention

and argued the flyer violated the Court’s March 28, 2019 Order. The Court agreed.

(Doc. 51). The Court wrote:
                                        31
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      A written communication concerning fundraising that merely refers
      readers to the Alumni Association’s website does not satisfy the notice
      requirement. If the Alumni Association is not sure whether a written
      communication should contain the notice language, then the
      Association should request guidance before it publishes the written
      communication. Future violations of the Court’s instructions shall be
      grounds for sanctions.

(Doc. 51).

      At some point, the Alumni Association published and circulated the following

written communication:




(Doc. 55, p. 5). The communication does not contain the notice required by the

March 28, 2019 Order. Then, the Alumni Association revised this communication

as follows:




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(Doc. 61-2, p. 8). The tiny language at the bottom of the card is the court-ordered

disclosure.

      The Court found that neither communication complied with the March 28,

2019 order which requires the notice language to appear prominently on Alumni

Association communications concerning fundraising. (Doc. 60, p. 1). The Court

found the notice language in the revised communication was “barely visible and

illegible because of the tiny font style.” (Doc. 60, p. 4, ¶7). The Court ordered:

      a. Future written communications from the Association that relate to
         fundraising or other aspects of its operations shall include the Notice
         Language in a font size, boldness, and color consistent with the font
         used in the primary portion of the written communication. The
         Notice Language must be easily legible.

      b. To meet the requirements of the Court’s March 28, 2019 Order, the
         notice language must be prominently featured, which means, among

                                         33
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          other things, that it must be placed in a written communication
          (including video) where it will be seen by everyone reading or
          viewing the communication.

      c. Future violations of the Court’s Order shall result in sanctions
         against the Association, the Association’s officers, or both. The
         Court reiterates: “If the Alumni Association is not sure whether a
         written communication should contain the notice language, then the
         Association should request guidance before it publishes the written
         communication.” (Doc. 51). Similarly, if the Association is not sure
         whether a written notice meets the requirements set forth above such
         that the notice is “prominently feauture[d],” then the Association
         should request guidance before it publishes the written
         communication.

(Doc. 60, pp. 4-5, ¶¶a-c).

      In April 2020, the Alumni Association published on its Facebook page a series

of videos entitled “7 Days of Praise.” One of the videos begins with a narrator

saying:

      For more than 9 decades, the Oakwood University and Oakwood
      University Alumni Association (OUAA) has [sic] worked together
      soliciting funds for students’ education and goodwill towards Oakwood
      and its experience. OUAA has remained steadfast to this decades old
      mission.

(See https://www.facebook.com/375235169965/videos/655544405289942/).            The

following still frame is from a portion of the video during the narration:




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(See https://www.facebook.com/375235169965/videos/655544405289942/).           The

video is approximately 44 minutes long. The notice in the above still frame appears

12 seconds into the video and disappears after five seconds. The notice reappears

with approximately two minutes left in the video during a fundraising pitch

involving the following still frame:




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(https://www.facebook.com/375235169965/videos/655544405289942/). The video

for another day omits the notice until the fundraising pitch from the previous video

appears.

(https://www.facebook.com/375235169965/videos/1152552171746654/?v=115255

2171746654).

III.       CONCLUSIONS OF LAW

       To be entitled to an order preliminarily preventing the Alumni Association

from using the trademarked name “Oakwood University,” the University must

establish a substantial likelihood of success on the merits of its trademark

infringement claim and a substantial threat of irreparable injury in the absence of an

injunction that outweighs the potential harm to the Alumni Association. The
                                         36
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University also must demonstrate that an injunction “will not disserve the public

interest.” Friedenberg v. Sch. Bd. of Palm Beach Cty., 911 F.3d 1084, 1090 (11th

Cir. 2018). “[A] preliminary injunction is an extraordinary and drastic remedy not

to be granted unless the movant clearly establishe[s] the burden of persuasion for

each prong of the analysis.” Am.’s Health Ins. Plans v. Hudgens, 742 F.3d 1319,

1329 (11th Cir. 2014) (internal quotations and citations omitted).

       Before delving into the details of the University’s infringement claim to

decide whether the University has demonstrated a likelihood of success on the merits

of that claim, we should review a few basics of trademark law. A trademark is “any

word, name, symbol, or device, or any combination thereof” used by a person “to

identify and distinguish his or her goods ... from those manufactured or sold by

others and to indicate the source of the goods.” 15 U.S.C. § 1127. Under the

Lanham Act, “marks that are capable of distinguishing the owner’s goods from those

of others, i.e., that are sufficiently ‘distinctive,’ are eligible for federal registration .

. .” with the United States Patent & Trademark Office. Tana v. Dantanna’s, 611

F.3d 767, 773 (11th Cir. 2010). As the Court has found, the University successfully

registered the mark “Oakwood University” in 2009.

       The owner of a federally registered trademark may protect its mark under

Section 32(a) of the Lanham Act. The Act provides:

       (1) Any person who shall, without the consent of the registrant--


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      (a) use in commerce any reproduction, counterfeit, copy, or colorable
      imitation of a registered mark in connection with the sale, offering for
      sale, distribution, or advertising of any goods or services on or in
      connection with which such use is likely to cause confusion, or to cause
      mistake, or to deceive; or

      (b) reproduce, counterfeit, copy, or colorably imitate a registered mark
      and apply such reproduction, counterfeit, copy, or colorable imitation
      to labels, signs, prints, packages, wrappers, receptacles or
      advertisements intended to be used in commerce upon or in connection
      with the sale, offering for sale, distribution, or advertising of goods or
      services on or in connection with which such use is likely to cause
      confusion, or to cause mistake, or to deceive, shall be liable in a civil
      action by the registrant for the remedies hereinafter provided. Under
      subsection (b) hereof, the registrant shall not be entitled to recover
      profits or damages unless the acts have been committed with
      knowledge that such imitation is intended to be used to cause confusion,
      or to cause mistake, or to deceive.

15 U.S.C.A. § 1114(1)(a); see also, Sovereign Military Hospitaller Order of Saint

John of Jerusalem of Rhodes & of Malta v. Fla. Priory of the Knights Hospitallers

of the Sovereign Order of Saint John of Jerusalem, Knights of Malta, The

Ecumenical Order, 809 F.3d 1171, 1181 (11th Cir. 2015) (“A person is liable for

infringement if he uses a mark in commerce that is confusingly similar to a registered

mark.”) (citing 15 U.S.C. § 1114(1)(a)).

      “Under the Lanham Act, 15 U.S.C. § 1114(1), a defendant is liable for

trademark infringement if the plaintiff shows (1) that its mark has priority and (2)

that the defendant’s mark is likely to cause consumer confusion.” PlayNation Play

Systems, Inc. v. Velex Corporation, 924 F.3d 1159, 1165 (11th Cir. 2019) (citing

Frehling Enter., Inc. v. Int’l Select Grp., Inc., 192 F.3d 1330, 1335 (11th Cir. 1999)).
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The parties agree the University has priority in the mark “Oakwood University.” 22

Therefore, the University is likely to prevail on its infringement claim if the

University can demonstrate that the Alumni Association adopted a name “that was

the same, or confusingly similar to” the University’s mark, “such that consumers

were likely to confuse the two.” Tana v. Dantanna’s, 611 F.3d 767, 773 (11th Cir.

2010). 23

       A. Substantially Likelihood of Success on the Merits of a Trademark
          Infringement Claim

       The University contends that the Association’s use of the trademarked name

“Oakwood University” for developing relationships with Oakwood University

alumni is confusing because alumni who join the “Oakwood University Alumni

Association” and/or donate to the Association may believe the University and the

Alumni Association are affiliated and the Alumni Association is a conduit for

donations to the University, but the two entities no longer are associated, and the

University may not accept donations from the Association.




22
   During the July 17, 2020 video conference in this matter (see July 17, 2020 minute entry), the
parties acknowledged that the University has priority in the Oakwood University mark. A
transcript of the hearing is available upon request.
23
  Tana concerns a trademark infringement claim under § 43(a) of the Lanham Act. Because the
confusion prongs of the infringement tests under § 32(a) and § 43(a) of the Lanham Act are
substantially similar, a district court may rely on cases decided under § 43(a) when evaluating
consumer confusion. 611 F. 3d at 773 n.5.
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      When evaluating a mark’s propensity to confuse consumers, a district court

considers seven factors:

      (1) strength of the mark alleged to have been infringed; (2) similarity
      of the infringed and infringing marks; (3) similarity between the goods
      and services offered under the two marks; (4) similarity of the actual
      sales methods used by the holders of the marks, such as their sales
      outlets and customer base; (5) similarity of advertising methods; (6)
      intent of the alleged infringer to misappropriate the proprietor’s good
      will; and (7) the existence and extent of actual confusion in the
      consuming public.

Webster v. Dean Guitars, 955 F.3d 1270, 1278 (11th Cir. 2020) (quoting Tana, 611

F.3d at 774-75); see also, Sovereign Military Hospitaller Order of Saint John of

Jerusalem of Rhodes & of Malta v. Fla. Priory of the Knights Hospitallers of the

Sovereign Order of Saint John of Jerusalem, Knights of Malta, The Ecumenical

Order, 809 F.3d 1171, 1181 (11th Cir. 2015). “‘The appropriate weight to be given

to each of these factors varies with the circumstances of the case.’” Webster v. Dean

Guitars, 955 F.3d 1270, 1278 (11th Cir. 2020) (quoting AmBrit, Inc. v. Kraft, Inc.,

812 F.2d 1531, 1538 (11th Cir. 1986)). “The district court ‘does not have to consider

all of these factors in every case and in some cases, “new” factors may merit

consideration.’” Sovereign Military Hospitaller, 809 F.3d at 1181 (quoting Swatch

Watch, S.A. v. Taxor, Inc., 785 F.2d 956, 958 (11th Cir.1986)). “‘The real question

is whether the court’s ultimate determination about the ‘likelihood of confusion’ was

correct.’” Sovereign Military Hospitaller, 809 F.3d at 1181 (quoting Univ. of Ga.

Athletic Ass'n v. Laite, 756 F.2d 1535, 1543 (11th Cir.1985)).
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       “The unauthorized use of a mark by a former licensee presents a particular

danger of confusion to the public. It has been described as ‘a fraud on the public,

since they are led to think that the ex-licensee is still connected with the licensor.’”

Villanova Univ. v. Villanova Alumni Educ. Found., Inc., 123 F. Supp. 2d 293, 309

(E.D. Pa. 2000) (quoting 4 MCCARTHY ON TRADEMARKS AND UNFAIR COMPETITION

§ 25:31 (5th ed.)); see also, Burger King Corp. v. Mason, 710 F.2d 1480, 1492 (11th

Cir. 1983) (“Common sense compels the conclusion that a strong risk of consumer

confusion arises when a terminated franchisee continues to use the former

franchisor’s trademarks.”).

              1. The Strength of the Mark Alleged to Have Been Infringed

       Oakwood University is the primary mark belonging to the University that the

Association allegedly has infringed. The strength of a mark is measured by its

distinctiveness and by “the extent of third-party use of the mark.” John H. Harland

Co. v. Clarke Checks, Inc., 711 F.2d 966, 975 (11th Cir. 1983) (internal marks and

citations omitted); see also Frehling Enterprises, 192 F.3d at 1335-36. 24

       “Distinctive marks are marks that ‘serve the purpose of identifying the source

of the goods or services.’” Tropic Ocean Airways, Inc. v. Floyd, 598 Fed. Appx.




24In evaluating the strength of a mark, a court also may consider whether the mark has become
incontestable pursuant to 15 U.S.C. § 1065(3). Frehling Enterprises, 192 F.3d at 1336. There is
no evidence in this case that the University has taken the steps necessary to make the mark
“Oakwood University” incontestable.
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608, 610 (11th Cir. 2014) (quoting Welding Servs., Inc. v. Forman, 509 F.3d 1351,

1357 (11th Cir. 2007)). There are four levels of distinctiveness, ranging from

generic marks, which are the least distinctive, to fanciful and arbitrary marks, the

most distinctive marks. As the Eleventh Circuit has explained:

      a mark can be “distinctive” in one of two ways: It can be “inherently”
      distinctive, or it can “acquire” distinctiveness over time. Inherently
      distinctive marks themselves identify the source of a particular product
      or service: “Coca-Cola,” for example, describes only one brand of soft
      drink—one producer. A mark that has acquired distinctiveness, by
      contrast, might initially have been understood to describe a broad class
      of potential products or services, but over time it has taken on a
      “secondary meaning” that links it to a particular source: “California
      Pizza Kitchen,” for example, may facially describe any random pizza
      eatery in the Golden State, but the public has come to associate it with
      one brand in particular.

      To separate the “distinct” from the non-“distinct”—and to differentiate
      among the distinct, for that matter—we have classified marks into four
      categories, in descending order of strength: (1) “fanciful” or “arbitrary,”
      (2) “suggestive,” (3) “descriptive,” and (4) “generic.” We consider
      fanciful marks (think “Verizon” telecommunications—the name is a
      made-up word), arbitrary marks (think “Apple” computers—the name
      is a real word that has nothing to do with the product) and suggestive
      marks (think “Igloo” coolers—the name is a real word that bears only
      an oblique relationship to the product) to be “inherently” distinctive.
      For marks in these categories, no proof of secondary meaning is
      necessary. By contrast, we consider descriptive marks (for example, an
      eyeglasses store called “Vision Center”) and generic marks (a book-
      selling company called “Books”) not to be inherently distinctive.
      Descriptive marks can become protectible only if they “acquire”
      distinctiveness by obtaining a “secondary meaning,” and generic marks
      can never become protectible.

Royal Palm Properties, LLC v. Pink Palm Properties, LLC, 950 F.3d 776, 782–83

(11th Cir. 2020) (footnote and citations omitted).
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      When a mark is registered with the USPTO, there is a “rebuttable presumption

that the mark[ ] [is] protectable or ‘distinctive.’” Royal Palm Properties, 950 F.3d

at 783 (internal quotations and citations omitted); see also, Welding Servs., 509 F.3d

at 1357 n.3 (“Registration establishes a rebuttable presumption that the marks are

protectable or ‘distinctive.’”).    Because the University registered the mark

“Oakwood University” with the USPTO, the Court presumes the mark is distinctive.

Royal Palm Properties, 950 F.3d at 784.

      To “successfully challenge a registered mark on distinctiveness grounds, the

challenger must overcome the presumption of validity by showing—by a

preponderance of the evidence—that the mark is not distinctive.” Royal Palm

Properties, 950 F.3d at 783 (citations omitted). The Alumni Association has not

tried to prove that the mark “Oakwood University” is not distinctive. Had the

Alumni Association tried, the challenge would fail because “Oakwood University”

is inherently distinctive. Like “Apple” computers, “Oakwood” is an arbitrary mark

because “Oakwood” is a word that has nothing to do with the University’s product

but instead is a word selected to describe the property on which the school was

founded. See page 1. “Arbitrary marks are the strongest of the four categories” of

marks. Frehling Enterprises, 192 F.3d at 1336.

      As for third-party use of the mark, “[t]he less that third parties use the mark,

the stronger it is, and the more protection it deserves.” Frehling Enterprises, 192


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F.3d at 1336.      The only evidence of third-party use of the mark “Oakwood

University” is the Association’s name, Oakwood University Alumni Association.

While that use dilutes the strength of the University’s mark somewhat, the mark,

overall, is very strong, especially given the Court’s finding that the University

allowed the Alumni Association to use the Oakwood University mark.

              2. The Similarity of the Infringed and Infringing Marks

       Assuming for purposes of this opinion that the Alumni Association has its

own legitimate mark, its mark, “Oakwood University Alumni Association,” is very

similar to the University’s registered mark, Oakwood University. 25 As noted in the

factual findings, the Alumni Association uses the University’s ancillary mark, a

flame (see pages 27, 31, 32, 33, 35, above), in conjunction with its mark, “OUAA

Oakwood University Alumni Association (see pages 27, 31, 32, 33, 35, above).




25The Alumni Association contends that it owns a mark that is independent of the
University’s registered mark. The Association posits:

       OUAA owns the trademark “OAKWOOD UNIVERSITY ALUMNI
       ASSOCIATION.” Plaintiff owns a different composite mark, “OAKWOOD
       UNIVERSITY.” They have co-existed in their current forms since 2010 and in their
       earlier forms since 1926, and each is an established independent mark with a
       separate owner.

(Doc. 18, p. 10). The University contends that it licensed the Association’s use of “Oakwood
University,” and it revoked that license in April 2018. The Court assumes for purposes of this
discussion that the Association has rights in an independent, common law mark “Oakwood
University Alumni Association.”
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             3. The Similarity Between the Goods and Services Offered Under the
                Two Marks

      Practically, there are few differences between the alumni activities of the

University and the Alumni Association.        The University and the Association

organize alumni events. Both raise funds for student scholarships and other forms

of student assistance. For years, and even after the University severed its ties with

the Alumni Association, the Association represented publicly that it raised funds

which it donated to the University. (pages 27, 29, 31). The goods and services the

University offers are significantly broader than the goods and services the

Association provides, but where there is overlap, it is considerable.


      The Association argues the goods and services it offers under its alleged

common law mark are different from the goods and services the University offers

under its registered mark. The Association points to the fact that the University

registered its mark in connection with, among other things, “educational” and

“entertainment services.” (Doc. 1, pp. 6-7, ¶10; Doc. 1-1, pp. 2-3; Doc. 15, pp. 2-3,

21-22, ¶¶10, 16; Doc. 20, p. 4, ¶16). The Association argues that because the

registration did not specifically include “charitable services” or “fundraising

activities,” the University did not protect its mark for those purposes. (Doc. 18, pp.

2-3, 7-8).




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      The Alumni Association’s argument is not persuasive for at least two reasons.

First, the similarity of goods and services factor is a measure of consumer confusion.

Consumers are not concerned with technicalities like the scope of a registered mark.

Consumers evaluate available goods and services, and the goods and services that

the University and the Association offer to Oakwood alumni are very similar.

Second, “the educational activities of a non-profit educational institution inherently

encompass charitable services. Thus, [a] registration certificate logically extends to

the University’s use of [its] marks in fundraising activities that are necessary to

support its education and entertainment activities.” Villanova Univ. v. Villanova

Alumni Educ. Found., Inc., 123 F. Supp. 2d 293, 302 (E.D. Pa. 2000); see also,

Potomac Conference Corp. of Seventh-Day Adventists v. Takoma Acad. Alumni

Ass’n, Inc., No. CIV.A. DKC 13-1128, 2014 WL 857947, at *8 (D. Md. Mar. 4,

2014) (alumni activities are a necessary activity undertaken by a school in support

of its educational services and mission). As the Eleventh Circuit has explained:

      We recognize that, as to federally-registered trademarks, we have not
      limited protection to the actual product or products listed in the
      certificate of registration. “The remedies of the owner of a registered
      trademark,” we have held, “are not limited to the goods specified in the
      certificate, but extend to any goods on which the use of an infringing
      mark is ‘likely to cause confusion.’”

Savannah Coll. of Art & Design, Inc. v. Sportswear, Inc., 872 F.3d 1256, 1266–67

(11th Cir. 2017) (quoting Continental Motors Corp. v. Continental Aviation Corp.,

375 F.2d 857, 861 (5th Cir. 1967) (citation omitted)).
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                4. The Similarity of Advertising Methods and Actual Sales Methods
                   Used by the Holders of the Marks, Such as Their Sales Outlets and
                   Customer Base

        The record does not contain details about the methods the University and the

Association use to contact, support, and organize alumni and to raise funds from

alumni, but the record discloses generally that both the University and the Alumni

Association use social media and other forms of communication to maintain contact

with Oakwood alumni.              As noted, both sponsor alumni events.                    Until their

relationship soured, the University and the Alumni Association coordinated events

for Alumni Weekend each spring. Most importantly, the customer base of the

Association and the University with respect to alumni relations is identical.26

                5. The Intent of the Alleged Infringer to Misappropriate the
                   Proprietor’s Good Will

        Where the evidence demonstrates the alleged infringer intended to “capitalize

on the popularity of” the plaintiff’s product and hoped to “catch the attention” of the

plaintiff’s consumers with the infringing mark, the intent factor weighs in favor of a

finding of consumer confusion. Univ. of Ga. Athletic Ass’n v. Laite, 756 F.2d 1535,

1545 (11th Cir. 1985); see also Amstar Corp. v. Domino’s Pizza, Inc., 615 F.2d 252,

263 (11th Cir. 1980) (“if the mark was adopted with the intent of deriving benefit



26On the record in this case, it is logical to blend the discussion of the fourth of fifth factors in the
customer confusion analysis.
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from the reputation of “Domino” that fact alone ‘may be sufficient to justify the

inference that there is confusing similarity.’”) (quoting RESTATEMENT      OF   TORTS,

§729, comment f (1938)). “Bad faith in the adoption and use of a trademark

normally involves the imitation of packaging material, use of identical code

numbers, adopting of similar distribution methods or other efforts by a party to “pass

off” its product as that of another.” Amstar Corp., 615 F.2d at 263 (citing Kentucky

Fried Chicken Corp. v. Diversified Packaging Corp., 549 F.2d 368, 382-83 (5th Cir.

1977)).

      Here, bad faith consists not only of the Alumni Association’s use of the

University’s registered mark, its ancillary marks, and it colors but also the Alumni

Association’s repeated violation of court orders designed to distance the

Association’s product from the University’s product while the Court attempted to

help the parties resolve their dispute. As the Court has found, after the University

severed its ties with the Association, the Association continued to use the “Oakwood

University” and “OU” marks, the University’s blue and gold color scheme, and the

“flame of knowledge” that appears on the University seal ancillary mark. (See Doc.

1-2, pp. 2-3; Doc. 1, p. 7, ¶15). “[T]o eliminate potential confusion regarding

fundraising” and enable the Alumni Association to continue its operations with

minimal disruption while the Court addressed the parties’ disagreement, the Court




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ordered the Alumni Association to include “prominently” in its communications to

alumni the following clarifying language:

             Notice: This Association is independent from and not
             affiliated with Oakwood University. This Association
             may not and does not raise funds for or on behalf of
             Oakwood University. This Association raises funds for
             alumni activities that the Association sponsors. The
             Association also raises funds to donate directly to students
             who now attend, will attend, or have attended Oakwood
             University to provide assistance with educational
             expenses.


(Doc. 47).   The Alumni Association repeatedly violated the Court’s order by

ignoring the notice requirement or providing the notice in a format virtually

undetectable and certain to go unseen by alumni. The Alumni Association’s conduct

leaves no room for doubt about its intent; the Association wants Oakwood alumni to

direct their giving to the Alumni Association instead of the University.

             6. The Existence and Extent of Actual Confusion in the Consuming
                Public

      “The most persuasive evidence in assessing the likelihood of confusion is

proof of actual confusion. All. Metals, Inc., of Atlanta v. Hinely Indus., Inc., 222

F.3d 895, 907 (11th Cir. 2000) (citing Conagra, Inc. v. Singleton, 743 F.2d 1508,

1514 (11th Cir. 1984)); see also, World Carpets, Inc. v. Dick Littrell's New World

Carpets, 438 F.2d 482, 489 (5th Cir. 1971) (“[I]t is not necessary to show actual

confusion. One merely has to show that the likelihood of confusion exists. There can


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be no more positive or substantial proof of the likelihood of confusion than proof of

actual confusion.”).27 “Moreover, reason tells us that while very little proof of actual

confusion would be necessary to prove the likelihood of confusion, an almost

overwhelming amount of proof would be necessary to refute such proof.” World

Carpets, 438 F.2d at 489. The record before the Court indicates that, since the split,

there has been actual confusion regarding the relationship between the University

and the Alumni Association. In October 2018, a University alumna contacted the

University’s Office of Advancement and Development seeking a receipt for a

donation she made to the Alumni Association. (Doc. 40-5, pp. 1-2, ¶8).28

       Emile Parker, the University’s Director for Alumni Relations in the Office of

Advancement and Development since August 2018, states he has witnessed

confusion caused by the Alumni Association’s use of the Oakwood University name

since he began his position. (Doc. 40-5, p. 1, ¶5). He explains:

       Over the past several months, I spoke with numerous people who were
       confused about how to make donations to the University. These people
       wanted to give money to the University, but were not sure if they should
       donate directly to the University or if a donation to the Association was

27
  This Court is bound by decisions the former Fifth Circuit rendered before October 1, 1981,
Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc).
28
  The Association objects to this and other evidence of actual confusion as hearsay. (Doc. 41, p.
12). The objection is without merit as the Court may consider hearsay at this stage of the
proceedings. Levi Strauss & Co. v. Sunrise Int'l Trading Inc., 51 F.3d 982, 985 (11th Cir. 1995)
(“At the preliminary injunction stage, a district court may rely on affidavits and hearsay materials
which would not be admissible evidence for a permanent injunction, if the evidence is ‘appropriate
given the character and objectives of the injunctive proceeding.’”) (quoting Asseo v. Pan American
Grain Company, 805 F.2d 23, 26 (1st Cir. 1986)).
                                                50
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      a donation to the University. I heard these questions from alumni and
      University supporters located throughout the United States. I tried to
      give clarity to these individuals that donations to the Association are
      not donations to the University as it is no longer associated with the
      school.

(Doc. 40-5, p. 1, ¶6). Mr. Parker also notes:

      In planning for the University’s 2019 Alumni Weekend, I observed
      significant confusion regarding the relationship between the University
      and the Association. When my office first published the flier for the
      Alumni Weekend, I saw significant questions and concerns about the
      event, both in private conversations and on social media. Specifically,
      people were confused whether the University or the Association was
      sponsoring Alumni Weekend events.

             [] Additionally, local businesses expressed confusion over the
      relationship between the University and the Association. In my office’s
      effort to secure hotel rates for Alumni Weekend, at least one hotel was
      confused about my inquiry as they thought they already set rates for the
      Alumni Weekend. In a January 22, 2019 conversation with the hotel, I
      explained that they established rates with the Association which is
      separate from the University. The hotel spoke with me about setting a
      University rate, but had concerns that having two rates for similar
      University and Association names would confuse their staff handling
      reservations. For a November 2018 event, I needed to reserve items
      from a local rental company. When I called and dropped by the vendor,
      they were unsure whether they should list my bill under the University’s
      account or the Association’s account. I had to explain the difference
      between the two entities since the names were similar.

(Doc. 40-5, p. 2, ¶¶9-10). Oakwood alumni have called Mr. Parker’s office by

mistake when trying to reach the Alumni Association. (Doc. 61-1, p. 3, ¶10).

      Twitter exchanges illustrate the confusion over which entity, the University

or the Association, was holding an alumna gathering at the Von Braun Civic Center

in Huntsville. (Doc. 40-4, pp. 20-21 (alum describing herself as “mad confused”
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about 2019 Alumni Weekend events); see also, Doc. 40-4, p. 36 (“So who will have

their service at the Von Braun/ The new Alumni Relations team or OUAA? This is

so confusing!”); Doc. 40-4, p. 33 (noting confusion between whether the group

known as “Dynamic Praise” was part of the University and commenting “[p]erhaps

an attorney can better clarify”); Doc. 40-4, p. 10 (“Which one are we . . . ou [sic] or

OUAA?”)).

      On January 24, 2019, comedian Anthony Hackett posted to YouTube and

Facebook a video parodying the confusion. The following still is from that video as

it appears on YouTube:




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(https://www.youtube.com/watch?v=Dt4IszXjjGY). In the Facebook comments,

Mr. Hackett noted he “just put to video what Oakwood alumni have been saying all

over facebook [sic] already.” (Doc. 40-4, p. 25). Other comments in response to the

video generally agreed with the video’s characterization of the confusion. (Doc. 40-

4, p. 1, ¶8; see Doc. 40-4, pp. 25-30).

      As the 2019 Alumni Weekend approached, the University’s Office of

Integrated Marketing and Public Relations fielded questions from several people

confused about the relationship between the University and the Alumni Association

and alumni giving. (Doc. 40-4, pp. 1-3, ¶¶9-10). Kenn Dixon, Director of the

University’s Office of Integrated Marketing and Public Relations, states he fielded

some of those questions and heard from people who did not know whether money

sent to the Association would make it to the University. (Doc. 40-4, p. 2, ¶9). See

Villanova Univ., 123 F. Supp. 2d at 300 (evidence of confusion over what entity was

sponsoring an event); Takoma Acad., 2014 WL 857947, at *13 (evidence of inquiries

as to which organization was associated with the school and requests for tax receipts

from the school for donations paid to the alumni association).

      Thus, the record contains overwhelming evidence of consumer confusion.

Because the parties agree the University’s “Oakwood University” mark has priority

over the Association’s claimed mark, the University has established a substantial

likelihood of success as to its trademark infringement claim.


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               7. OU vs. OUAA

      The Alumni Association contends that even if the University can establish a

likelihood of success on its infringement claim as it pertains to the “Oakwood

University” mark, the Association has a separate mark, OUAA, that does not

infringe on the University’s unregistered mark, OU. The Association argues it

should be allowed to continue to use OUAA.

      If OU and OUAA are marks distinct from Oakwood University and Oakwood

University Alumni Association, respectively, then -- with one exception -- the

analysis concerning the Oakwood University and Oakwood University Alumni

Association marks applies equally to the OU and OUAA marks. If it is a separate

mark, the OU mark is not as strong as the Oakwood University mark because the

University did not register OU, and OU is not as distinctive as Oakwood University.

Otherwise, it is undisputed that OU has priority over OUAA, and the analysis of the

other factors regarding confusion is identical to the discussion of the factors as they

pertain to the marks Oakwood University and Oakwood University Alumni

Association.

      Some would say that OU and OUAA are not separate marks that require

separate analysis. Some would say these are merely abbreviations for Oakwood

University and Oakwood University Alumni Association, respectively, that travel in

tandem with their related marks. Some courts have held that “[i]nitials for a


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descriptive phrase merely represent short forms of the words for which they stand

and should receive the same degree of protection as those words.” Superior

Performers, Inc. v. Family First Life, LLC, No. 1:14CV283, 2015 WL 4158757, at

*4 (M.D.N.C. July 9, 2015) (internal quotations and citations omitted); see also G.

Heileman Brewing Co., Inc. v. Anheuser-Busch, Inc., 873 F.2d 985, 994 (7th Cir.

1989) (“[T]here is a heavy burden on a trademark claimant seeking to show an

independent meaning of initials apart from the descriptive words which are their

source.”); U.S. Conference of Catholic Bishops v. Media Research Ctr., 432 F. Supp.

2d 616, 623 (E.D. Va. 2006). We do not decide today whether to adopt this

reasoning because on the record here, the result is the same either way; the

University has established a substantial likelihood of success on its trademark

infringement claim both with respect to “Oakwood University” and “OU.”

      B. Substantial Threat of Irreparable Injury in the Absence of an Injunction

          1. The University Has Established It Will Suffer Irreparable Injury Unless
             the Injunction Issues

      In the Eleventh Circuit, there is “a presumption of irreparable harm once a

plaintiff establishes a likelihood of success on the merits of a trademark infringement

claim.” N. Am. Med. Corp. v. Axiom Worldwide, Inc., 522 F.3d 1211, 1227 (11th

Cir. 2008); see also, Tally-Ho, Inc. v. Coast Cmty. Coll. Dist., 889 F.2d 1018, 1029

(11th Cir. 1989). But in its latest pronouncement on the issue, the Eleventh Circuit

noted the Supreme Court’s decision in eBay Inc. v. MercExchange, L.L.C., 547 U.S.
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388 (2006), casts doubt on the validity of the presumption. N. Am. Med. Corp., 522

F.3d at 1228.

      With or without the presumption, because there is substantial evidence of

actual confusion, there is harm, and that harm is irreparable. The Court tried to help

the Alumni Association mitigate the harm by requiring a disclaimer designed to

curtail confusion, but the Association repeatedly refused to use the disclaimer

properly. The record demonstrates the University’s inability to control its mark

could impact its accreditation. (See Doc. 44-1, p. 3, ¶7) (“By continuing to hold

itself out as raising funds for the University, even though the requirements of

SACSCOC 5.3 are not being satisfied, OUAA endangers the University’s

accreditation.”). It has been said that a company’s mark “is [its] authentic seal; by

it [the company] vouches for the goods which bear it; it carries [the company’s]

name for good or ill. If another uses it, he borrows the owner's reputation, whose

quality no longer lies within his own control. This is an injury, even though the

borrower does not tarnish it, or divert any sales by its use.” Ambassador E., Inc. v.

Orsatti, Inc., 257 F.2d 79, 82 (3d Cir. 1958) (internal quotations and citations

omitted). How much more the injury when the borrower does tarnish the name by,

for example, failing to file forms required by the IRS for three years. (Doc. 1, p. 14,

¶32). Money damages cannot repair the potential damage to University’s reputation.




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      Therefore, the University has established it will suffer irreparable injury if the

Court withholds an injunction.

         2. The Balance of the Equities Favors an Injunction.

      As noted above, the Alumni Association’s continued use of the University’s

marks adversely effects the University’s goodwill and reputation. On the other hand,

the Association may organize activities for Oakwood alumni and raise funds for

Oakwood students without using the Oakwood marks. Potomac Conference Corp.

of Seventh-Day Adventists v. Takoma Acad. Alumni Ass’n, Inc., No. CIV.A. DKC

13-1128, 2014 WL 857947, at *21 (D. Md. Mar. 4, 2014) (“[A] preliminary

injunction barring use of the marks at issue still allows Defendant to fundraise and

host events for students and alumni.”); .” Villanova Univ., 123 F. Supp. 2d at 311

(“‘One who uses another’s marks without permission ‘can hardly claim to be

harmed, since it brought any and all difficulties occasioned by the issuance of an

injunction upon itself.’”) (quoting Opticians Association of America v. Independent

Opticians of America, 920 F.2d 187,197 (3d Cir. 1990) (citations omitted)). True,

the Association will have to adopt a new name and introduce that name to Oakwood

alumni, but the evidence shows Oakwood alumni are very familiar with – and

concerned about – the rift between the University and the Alumni Association, so

alumni will not be surprised by a new name. And, again, the Alumni Association




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brought the inconvenience on itself; the whole matter could have been resolved with

a bit of cooperation from the Association.

      The Alumni Association relies on Computer Currents Publishing Corp. v.

Jaye Communications, Inc. 968 F. Supp. 684 (N.D. Ga. 1997), to support its

argument that an injunction should not issue because the harm to the Association

outweighs the harm to the University. (Doc. 41 p. 20). But the facts of Creative

Currents are distinguishable. In Creative Currents, the defendant agreed to stop

using the protected mark once it transitioned its business. In our case, the Alumni

Association expressly states that “it is not prepared to concede infringement or to

give up use of the mark.” (Doc. 41, p. 20). The Association argues that, like the

defendant in Creative Currents, it should be given additional time to “address the

merits of the dispute, and possibly reach a solution.” (Doc. 41, p. 21). The

Association’s conduct belies the argument.            The Alumni Association has

demonstrated repeatedly that it is unwilling to compromise. Nothing short of a

preliminary injunction will suffice.

      C. The Injunction Will Not Disserve the Public Interest

      The Eleventh Circuit has stated that “in ‘ordinary trademark infringement

actions ... complete injunctions against the infringing party are the order of the day.’”

Angel Flight of Georgia, Inc. v. Angel Flight Am., Inc., 522 F.3d 1200, 1209 (11th

Cir. 2008) (quoting SunAmerica Corp. v. Sun Life Assur. Co. of Canada, 77 F.3d


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1325, 1336 (11th Cir. 1996)). “The reason is simple: the public deserves not to be

led astray by the use of inevitably confusing marks—even in cases in which more

than one entity has a legal right to use the mark.” Angel Flight, 522 F.3d at 1209

(citing SunAmerica Corp., 77 F.3d at 1336-37). The issuance of the injunction under

the circumstances of this case does not disserve the public interest.

IV.      CONCLUSION

      For the reasons stated above, by separate order, the Court will issue a

preliminary injunction that prevents the Alumni Association from using the

Oakwood University mark.



      DONE and ORDERED this August 14, 2020.


                                     _________________________________
                                     MADELINE HUGHES HAIKALA
                                     UNITED STATES DISTRICT JUDGE




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